Case 1:19-cv-01227-GBW Document 440 Filed 05/23/23 Page 1 of 6 PageID #: 25445




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

 EIS, INC.,                      §
                                 §
           Plaintiff,            §
                                 §
           v.                    §
                                   Civil Action No.: 19-cv-1227-GBW
                                 §
 INTIHEALTH GER GMBH,            §
                                   Demand For Jury Trial
 WOW TECH USA, LTD., WOW TECH    §
 CANADA, LTD. and NOVOLUTO GMBH, §
                                 §
           Defendants.           §

                                             PUBLIC VERSION
                                             filed May 23, 2023

 NOVOLUTO GMBH,                          §
                                         §
              Counterclaimant,           §
                                         §
              v.                         §
                                         §
 EIS, INC., EIS GMBH,                    §
 TRIPLE A IMPORT GMBH,                   §
 and TRIPLE A MARKETING GMBH,            §
                                         §
              Counterclaim Defendants.



 LETTER TO THE HONORABLE GREGORY B. WILLIAMS IN OPPOSITION TO
   PLAINTIFF AND COUNTERCLAIM DEFENDANTS’ MOTION TO STRIKE
          UNTIMELY DISCOVERY AND EXPERT DISCLOSURES




00049320.2
Case 1:19-cv-01227-GBW Document 440 Filed 05/23/23 Page 2 of 6 PageID #: 25446
 Honorable Gregory B. Williams
 May 16, 2023
 Page 1

Dear Judge Williams:

       Defendants IntiHealth Ger GmbH, WOW Tech USA, Ltd., WOW Tech Canada, Ltd., and
Novoluto GmbH (“WOW Tech”) hereby respond to Plaintiff and Counterclaim Defendants’
(“EIS”) Motion to Strike and accompanying Letter (D.I. Nos. 354 & 355) as follows:

        After losing multiple claim construction issues, EIS attempts to re-raise and re-argue the
same issues through its expert’s rebuttal expert report. This required WOW Tech’s experts to
provide directly responsive arguments in their reply expert reports. To be clear, WOW Tech has
not provided new infringement positions, rather it only responded directly to EIS’s new non-
infringement positions. EIS fails to meet the high bar to strike WOW Tech’s disclosures. In re
Paoli R.R. Yard PCB Litig., 35 F.3d 717, 791-92 (3d Cir. 1994) (“The exclusion of critical
evidence is an extreme sanction, not normally to be imposed absent a showing of willful deception
or flagrant disregard of a court order by the proponent of the evidence.”) (citations omitted).

    I.       WOW TECH’S DISCLOSURES ARE NOT NEW OR UNTIMELY

        1. “Chamber” Infringement Theory. WOW Tech’s infringement disclosures in its reply
expert reports are not a “new infringement theory.” They were already disclosed in the final
infringement contentions and opening reports (by its technical experts Dr. Cameron and Dr.
Herbenick) and any additional explanation in the reply reports was directly responsive to an
apparent lack of understanding expressed by EIS’s expert or to EIS’s new non-infringement
theories expressed for the first time in Dr. Abraham’s rebuttal report. First, WOW Tech’s final
infringement contentions and its technical experts’ opening reports explained and identified any
required “chamber” recited in the claims of the Patents-in-Suit. See, e.g., Ex. 1, ¶¶ 86-88, 103,
121-122, 146, 162; Ex. 2, ¶¶ 74-81, 119-120, 150-152, 183-188, 241-242; Ex. 5. As the Court is
aware, some claims require “a first chamber” and a “second chamber” (e.g., ’851 Patent) and some
claims require “a chamber” (e.g., ’220, ’418 Patent). Regarding the ’220 and ’418 Patents, WOW
Tech’s technical experts explained in detail with figures in their opening reports (including claim
charts) how each Accused Product has “a chamber having a flexible wall” and “an opening
configured to sealingly engage…a clitoris…the opening being a sole opening of the chamber to
an exterior of the stimulation device.”1 Ex. 1 at ¶¶ 146, 149-150, 162, 166-167; Ex. 2 at ¶¶ 119,
124-126, 150-151, 157-159. EIS’s apparent lack of understanding of the identified chambers does
not mean the reports failed to identify chambers.

       Second, WOW Tech’s technical experts’ opinions in their reply reports are directly
responsive to EIS’s new non-infringement theory that recycles claim construction arguments EIS
already lost. During claim construction, EIS argued that “chamber” should be construed to mean
“enclosed cavity.” D.I. 238 at 67, D.I. 300 at 33. The Court saw “no reason to depart from the
term’s plain and ordinary meaning” and construed “chamber” to mean “compartment.” D.I. 300
at 35-36. The Court went on to note that “[c]ontrary to EIS’s position, there is no intrinsic support
for construing “chamber” to have “some defined borders…because the claim language already

1
  Novoluto agreed to withdraw the DOE arguments in an effort to reduce the number of issues
presented to the court, and without knowledge that EIS would later raise new non-infringement
theories based on new claim construction positions. Dr. Cameron’s opinions regarding “chamber”
and “opening of the chamber to an exterior of the stimulation device” in her reply report were not
a reintroduction of Novoluto’s withdrawn DOE theory; they are literal infringement opinions.

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Case 1:19-cv-01227-GBW Document 440 Filed 05/23/23 Page 3 of 6 PageID #: 25447
 Honorable Gregory B. Williams
 May 16, 2023
 Page 2

recites other claim limitations that define the chambers’ structure.” Id. The Court ultimately found
that “EIS’s proposed construction masquerades as a genuine attempt to promote clarity…but is
ultimately fueled by its non-infringement positions and unsupported by the intrinsic record,” and
that “EIS’s proposed construction for the term ‘opening of the chamber’ is inconsistent with its
proposed construction of the term ‘chamber.’” Id. at 18, n. 3, 35.

        In direct defiance of the Court’s decision, EIS’s expert alleges he understands that the Court
construed “chamber” to mean “compartment,” but then proceeds to define “compartment” to try
to recapture the argument EIS already lost during claim construction. Ex. 3, ¶ 117. Dr. Abraham
points to a dictionary definition of “compartment” – “1: a separate division or section or 2: one of
the parts into which an enclosed space is divided,” (id.) – which is essentially the definition for
“chamber” that the Court already rejected. The Court already found that a “chamber” does not
necessarily have some defined borders or need to be “enclosed.” D.I. 300 at 34-35. Dr. Abraham
ignores this ruling and spends three pages explaining the meaning of the term “compartment” in
an attempt to recapture EIS’s rejected claim construction argument. Ex. 3, ¶¶ 121-123. EIS did
not include any of this argument when WOW Tech sought EIS’s non-infringement positions in
Interrogatory Number 14. Ex. I, p. 113. Rather, EIS, without any analysis or explanation, stated,
inter alia, that the Accused Products lacked “the opening being a sole opening of the chamber to
an exterior of the stimulation device.” Id., pp. 116-117. It was not until Dr. Abraham’s rebuttal
report that EIS articulated its new non-infringement position based on its new construction of
compartment, as discussed above, requiring WOW Tech to respond in its expert reply reports.

         Here, WOW Tech’s reply disclosures are proper rebuttal evidence. Rebuttal evidence is
properly admissible when it will “explain, repel, counteract or disprove the evidence of the adverse
party.” United States v. Chrzanowski, 502 F.2d 573, 576 (3rd Cir. 1974). Such evidence may be
proper even if “an expert could have included [it] in his or her original report.” Crowley v. Chait,
322 F.Supp.2d 530, 551 (D.N.J. 2004). Otherwise excluding evidence that an expert could have
included in her report “would lead to the inclusion of vast amounts of arguably irrelevant material
in an expert’s report on the off chance that failing to include any information in anticipation of a
particular criticism would forever bar the expert from later introducing the relevant material.” Id.
(finding that attachment to expert witness’s report was proper rebuttal evidence and the fact that
expert could have included the attachment in her opening report was not grounds for exclusion);
see also Helios Software, LLC v. SpectorSoft Corp., 2014 WL 4796111, at *3 (D. Del. Sept. 18,
2014) (finding that defendant’s invalidity expert carrying out testing of prior art systems for the
first time and including the testing results in his reply report was proper rebuttal evidence to
plaintiff’s expert’s rebuttal report that alleged that defendant’s expert had failed to demonstrate
that the prior art systems performs a certain function (terminating sessions)). WOW Tech could
not have known that EIS would attempt, through its technical expert, to recycle and revamp its
claim construction/non-infringement positions that it already lost. Consequently, WOW Tech
properly rebutted those positions in its expert reply reports. These are not new infringement
theories; they are rebuttal positions responding to EIS’s new non-infringement positions. The
rebuttal disclosures regarding “chamber” should not be excluded.

        2. Induced Infringement Theory. EIS mischaracterizes the record regarding WOW Tech’s
induced infringement claims. WOW Tech pled induced infringement with particularity pointing
to “instructions and training, including user manuals and instructional videos, that teach,
recommend and induce the infringing use…” See e.g., D.I. 118, ¶ 53. In response to EIS
Interrogatory No. 8, and prior to opening expert reports, WOW Tech further explained its

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Case 1:19-cv-01227-GBW Document 440 Filed 05/23/23 Page 4 of 6 PageID #: 25448
 Honorable Gregory B. Williams
 May 16, 2023
 Page 3

inducement claims including how EIS used “a combination of instructions, user manuals,
advertising, and/or marketing materials,” “social media influencers,” “online videos,” and
“promotional materials” for distributors and retailers to encourage customers to use the accused
products in a way that infringe the method claims. Ex. H, p. 29. Likewise, WOW Tech’s final
infringement contention claim charts include excerpts from the user manuals showing exactly how
EIS instructs its customers to use the accused products in a way that infringes the method claims.
Ex. 4. These were not new theories raised for the first time in expert reply reports. Indeed, WOW
Tech’s technical experts also provided with their opening expert reports similar claim charts that
referred to the user manuals and quick start guides for each of the Accused Products with respect
to claim 21 of the ’061 Patent and claim 12 of the ’097 Patent. EIS’s argument that WOW Tech’s
experts did not specifically identify a user or EIS committing direct infringement of the method
claims is a red herring. The jury does not need expert testimony to understand that EIS induced
its users to directly infringe the method claims. WOW Tech’s reply reports that directly rebut Dr.
Abraham’s inducement opinions should not be stricken because they are not brand new theories
disclosed for the first time in a reply report.

        3. “Nozzle Effect” Theory. Novoluto’s interpretation and identification of “nozzle effect”
in the reply reports is also not new. They were already disclosed in the final infringement
contentions and technical expert opening reports, and any additional explanation in the reply
reports was directly responsive to EIS’s new non-infringement theory based on a new claim
construction position. Acceleration Bay LLC v. Activision Blizzard LLC, No. 16-453-RGA, 2017
WL 11517421, at *3 (D. Del. Nov. 7, 2017) (“It is reasonable for expert reports to expand on, or
amplify infringement contentions in reaching the expert’s conclusions.”). First, WOW Tech’s
technical experts addressed “nozzle effect” in their opening reports. Ex. 1, ¶ 132, App. E
(excerpts); Ex. 2, ¶¶ 95-96. EIS ignores the claim charts appended to WOW Tech’s technical
experts’ reports, which further explain and identify the “nozzle effect” required by the ’851 Patent
in each of the 46 Accused Products. Second, as above, when asked about EIS’s non-infringement
positions in Interrogatory No. 14, EIS provided no analysis or explanation with respect to the
“nozzle effect,” which EIS now contends is not present in some of the Accused Products. Ex. I,
pp. 116-117. It was not until Dr. Abraham’s expert rebuttal report that EIS actually articulated the
why and how of its “nozzle effect” non-infringement theory. Without this explanation, WOW
Tech could not have responded to EIS’s new non-infringement theory until expert reply reports.

        Moreover, Dr. Abraham’s analysis of “nozzle effect” is yet another instance of EIS losing
an issue on claim construction and attempting to re-argue the same issue through its technical
expert. Specifically, “nozzle effect” was not identified as a disputed term for claim construction.
Instead, EIS argued that the term “connection element” means “media flow path with a smaller
cross-sectional area than the first chamber.” D.I. 238, p. 6; D.I. 300, p. 5. The Court correctly
found “no evidence compelling the Court to stray from the disputed term’s plain and ordinary
meaning” of “a structure that connects two structures.” D.I. 300, p. 9. During claim construction,
EIS argued that “connection element” required a smaller cross-sectional area than the first chamber
to generate the nozzle-effect. D.I. 238, pp. 7-11 (emphasis added); D.I. 300, p. 12. The Court
correctly rejected EIS’s construction finding “there is no support for EIS’s contention that the
‘connection element’ must … have a cross-sectional area smaller than the first chamber in order
to generate the claimed ‘nozzle effect.’” D.I. 300, p. 12 (emphasis added). EIS did not seek
reconsideration of the claim construction order and did not supplement its interrogatory responses
between the issuance of the claim construction order and the deadline for expert opening reports.


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Case 1:19-cv-01227-GBW Document 440 Filed 05/23/23 Page 5 of 6 PageID #: 25449
 Honorable Gregory B. Williams
 May 16, 2023
 Page 4

Instead, after losing this argument, EIS now seeks a second bite at the apple and uses Dr. Abraham
and 13 pages2 of his rebuttal report to re-argue the same issue. Ex. 3, pp. 48-61. Dr. Abraham
simply retools EIS’s claim construction arguments (id., p. 49, n. 15) by changing “smaller cross-
sectional area” (EIS’s proposed construction during claim construction) to the synonym
“constriction” (id., ¶ 100). WOW Tech’s technical experts could not have expected EIS’s new
claim construction arguments in their opening reports, and therefore their responsive opinions in
their reply reports were timely.

        Had EIS articulated this non-infringement theory in response to WOW Tech’s Contention
Interrogatory No. 14 prior to opening expert reports, WOW Tech’s experts could have addressed
it in opening reports. Instead, EIS sought to ambush WOW Tech with its rebuttal report leaving
WOW Tech no choice but to rebut the opinion in reply reports. Because (1) the Court has already
rejected EIS’s limiting construction and (2) WOW Tech’s “nozzle effect” opinions are in direct
response to a new theory of non-infringement raised for the first time in EIS’s rebuttal reports,
WOW Tech’s experts’ “nozzle effect” opinions in their reply reports should not be stricken.

        4. “Sealing Bearing Part” Theory. WOW Tech’s technical experts identified the “sealing
bearing part” of the Accused Products in their opening reports. Any additional explanation and/or
testing in the reply reports was directly responsive to EIS’s new non-infringement positions first
disclosed in Dr. Abraham’s rebuttal report. Specifically, EIS did not identify the “sealing bearing
part” limitation as not being present in the Accused Products in response to WOW Tech’s
Contention Interrogatory No. 14. Ex. I, pp. 116-117. Likewise, the term “sealing bearing part”
was not raised during claim construction. D.I. 301. It was not until Dr. Abraham’s reply report
that EIS indicated that it disputed this limitation. Therefore, to directly rebut Dr. Abraham’s new
opinion, WOW Tech’s technical expert provided ink blot tests to further highlight the already-
identified “sealing bearing part” in each of the Accused Products. Withrow v. Spears, 967
F.Supp.2d 982, 1002 (D. Del. 2013) (“[R]ebuttal and reply reports may cite new evidence and data
so long as the new evidence and data is offered to directly contradict or rebut the opposing party’s
expert.”) (citations and quotations omitted); see also Helios, 2014 WL 4796111, at *3. The sealing
bearing part was already identified in each Accused Product in the claim charts appended to WOW
Tech’s technical experts’ opening reports. See e.g., Ex. 1, App. E. The ink blot tests were
conducted after receiving Dr. Abraham’s rebuttal report and were in direct response to Dr.
Abraham’s new non-infringement position on the “sealing bearing part” limitation. Had EIS
identified the “sealing bearing part” limitation in response to Interrogatory Number 14 or at any
time prior to its expert rebuttal report, WOW Tech could have performed and provided this testing
in its opening report. Instead, EIS again tried to ambush WOW Tech with a brand-new non-
infringement theory in its expert rebuttal report. Accordingly, WOW Tech’s rebuttal evidence and
testimony should not be stricken.

    II.      THE PENNYPACK FACTORS DO NOT SUPPORT EXCLUSION

        If the Court determines there was a failure to disclose, which there was not, WOW Tech
agrees that the Third Circuit’s Pennypack factors should apply here. To determine whether a
failure to disclose was harmless, courts consider the Pennypack factors: (1) the prejudice or

2
 EIS highlights Dr. Cameron’s 29 paragraph reply regarding “nozzle effect,” but that response
only spanned 11 pages of her reply report responding to Dr. Abraham’s 13-page new claim
construction argument.

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Case 1:19-cv-01227-GBW Document 440 Filed 05/23/23 Page 6 of 6 PageID #: 25450
 Honorable Gregory B. Williams
 May 16, 2023
 Page 5

surprise to the party against whom the evidence is offered; (2) the possibility of curing the
prejudice; (3) the potential disruption of an orderly and efficient trial; (4) the presence of bad faith
or willfulness in failing to disclose the evidence; and (5) the importance of the information
withheld. Konstantopoulos v. Westvaco Corp., 112 F.3d 710, 719 (3d Cir. 1997) (citing Meyers
v. Pennypack Woods Home Ownership Ass’n, 559 F.2d 894, 904–05 (3d Cir. 1977)).

        For the first two Pennypack factors, there is no surprise or prejudice here, at a minimum
because the above-discussed opinions were disclosed well before the lengthy expert depositions
that EIS took of WOW Tech’s experts, which gave EIS ample time to cure any alleged prejudice,
and EIS does not allege any prejudice in the taking of the depositions. EIS can also not claim
surprise where it set forth brand new non-infringement positions in expert reports that were not
disclosed in response to the contention interrogatory seeking the same. WOW Tech’s responses
to these new non-infringement positions are nothing more than proper rebuttal evidence. Helios,
2014 WL 4796111, at *3. Moreover, WOW Tech’s infringement theory has not changed since its
Final Infringement Contentions were served. Rather, WOW Tech sets forth opinions on why, even
if EIS’s new non-infringement arguments and recycled claim construction positions hold weight,
the accused products still infringe the patents. The first two factors weigh against exclusion.

       The third factor also weighs against exclusion as EIS has not alleged that trial will be
delayed or disrupted if the disclosures are allowed to stand. Indeed, EIS fails to identify how or
why the complained-of disclosures would disrupt the trial schedule. Additionally, EIS had every
opportunity to question WOW Tech’s technical experts about the contents of their reply reports
during their depositions, both of which EIS took, and thus, there is no need for any reopening of
discovery. The third factor strongly weighs against exclusion.

        For the fourth factor, EIS cites no alleged misconduct, and instead states without any
support that “it is hard to conclude there was no intent” on WOW Tech’s part. EIS’s baseless
accusations are nothing near the clear, egregious examples of misconduct that Courts have required
to satisfy this factor. See, e.g., Novartis Pharms. Corp. v. Actavis, Inc., No. 12-366-RGA-CJB,
2013 WL 7045056, at *11 (D. Del. Dec. 23, 2013). Here, the record does not warrant a finding of
willfulness or bad faith, especially where WOW Tech was merely responding directly to new non-
infringement positions and/or new claim construction theories that were not disclosed or explained
sufficiently in response to Contention Interrogatory No. 14. This factor weighs against exclusion.

        The fifth factor also weighs against exclusion because without the rebuttal disclosures to
EIS’s non-infringement positions, WOW Tech would be left defenseless, and the disputes would
not be resolved on their merits. Abbott Lab'ys v. Lupin Ltd., No. CIV.A. 09-152-LPS, 2011 WL
1897322, at *5 (D. Del. May 19, 2011) (“Courts favor the resolution of disputes on their merits.”).

       Accordingly, not only are WOW Tech’s disclosures responsive and proper, they are also
permissible, and substantially justified under Pennypack, as a response to the untimely disclosures
and new theories advanced in Dr. Abraham’s reply report.
                                                             Respectfully,
                                                             /s/ Gregory E. Stuhlman
                                                             Gregory E. Stuhlman (No. 4765)
cc:      Clerk of Court (via hand delivery; w/attachments)
         All Counsel of Record (by CM/ECF and E-mail; w/attachments)

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